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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION
ERIC LEE YOUNGS,
     Plaintiff,

vs.                                           Case No.: 3:20cv5419/LAC/EMT

NORTHEAST FLORIDA STATE
HOSPITAL,
     Defendant.
__________________________/



                                     ORDER

      The Chief Magistrate Judge issued a Report and Recommendation on June 2,

2020 (ECF No. 4).         Plaintiff was furnished a copy of the Report and

Recommendation and afforded an opportunity to file objections pursuant to Title

28, United States Code, Section 636(b)(1). No objections have been filed

      Having considered the Report and Recommendation, I have determined it

should be adopted.

      Accordingly, it is now ORDERED as follows:

      1.     The Chief Magistrate Judge’s Report and Recommendation (ECF No.

4) is adopted and incorporated by reference in this order.
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       2.     The clerk of court is directed to transfer this case to the United States

District Court for the Middle District of Florida and close the file.

       DONE AND ORDERED this 30th day of June, 2020.



                                    s/L.A. Collier
                                 LACEY A. COLLIER
                                 SENIOR UNITED STATES DISTRICT JUDGE




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